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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA

(1)    BLAKE D. JOHNSON,                              )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )      No. CIV-17-1277-HE
                                                      )
(1)    JEFFREY E. MORRIS and                          )
(2)    USAA CASUALTY INSURANCE                        )
       COMPANY, a Texas Corporation,                  )
                                                      )
                       Defendants.                    )

                                        NOTICE OF REMOVAL

       The Petitioner, USAA Casualty Insurance Company (“USAA CIC”), Defendant in the above-

captioned case, states the following:

       1. The above-entitled cause was commenced on November 30, 2016 in the District Court of Payne

County, entitled Blake D. Johnson v. Jeffrey E. Morris and USAA Insurance Agency, Inc., Case No. CJ-

2016-538. Plaintiff filed a First Amended Petition on November 20, 2017, entitled Blake D. Johnson v.

Jeffrey E. Morris and USAA Casualty Insurance Company, Inc., Case No. CJ-2016-538. The First

Amended Petition dropped USAA Insurance Agency, Inc., as a Defendant, and added USAA CIC. Copies

of Plaintiff’s Petition and First Amended Petition are attached as Exhibits 1 and 12 respectively. A copy

of the First Amended Petition was served on Defendant, USAA CIC, on November 20, 2017.

       2. Plaintiff has settled with Defendant Jeffery E. Morris. (See Email 8-11-2017; Letter of 11-15-

2017, Exhibit 13). As such, Defendant Morris is no longer a proper party to this action, is a nominal party

and/or has been fraudulently named in the First Amended Petition.

       3. Defendant, USAA CIC is a foreign corporation, incorporated under the laws of Texas with its

principal place of business in San Antonio, Texas. Plaintiff is a citizen and resident of the State of

Oklahoma. (Amended Petition, ¶ 2, Exhibit 11). Thus, complete diversity exists between Plaintiff and
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USAA CIC.

       4. Plaintiff's cause of action against USAA CIC is for alleged breach of an automobile insurance

contract and alleged breach of the duty of good faith and fair dealing. The matter in controversy between

Plaintiff and USAA CIC, according to Plaintiff’s demands, exceeds Seventy-Five Thousand and No/100ths

Dollars ($75,000.00), exclusive of interests and costs. (Amended Petition, p. 3-4, Exhibit 11).

       5. This Court has original jurisdiction over this case pursuant to 28 U.S.C. § 1332 (1992), by

reason of the fact that this is a civil action wherein the amount in controversy, according to Plaintiff's

demands, exceeds Seventy-Five Thousand and No/100ths Dollars ($75,000.00), exclusive of interest and

costs and is between citizens of different states. Accordingly, this action may be removed by USAA CIC

pursuant to 28 U.S.C. § 1441(a).

       6. This Notice of Removal is filed in this Court within thirty (30) days after November 20, 2017,

the date USAA CIC was first added as a Defendant via Plaintiff’s First Amended Petition and the date

USAA CIC was served with a copy of Plaintiff's First Amended Petition, which was the initial pleading

setting forth Plaintiff’s claims for relief against USAA CIC.

       7. Copies of all process, pleadings, and Orders served upon Defendant, USAA, have been attached

hereto as Exhibits:

       Exhibit 1:      Petition
       Exhibit 2:      Summons
       Exhibit 3:      Entry of Appearance
       Exhibit 4:      Defendant, USAA Casualty Insurance Company’s Motion to Dismiss Plaintiff’s
                       Claims Pursuant to Okla. Stat. Tit. 12 § 2012(B)(6)
       Exhibit 5:      Plaintiff’s Response and Objection to Defendant USAA Casualty Insurance
                       Company’s Motion to Dismiss

       Exhibit 6:      Entry of Appearance
       Exhibit 7:      Defendant, Jeffrey E. Morris’s Answer
       Exhibit 8:      Defendant USAA Casualty Insurance Company’s Reply to Plaintiff’s Objection and
                       Response to Defendant’s Motion to Dismiss Plaintiff’s Claims
       Exhibit 9:      Entry of Appearance


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       Exhibit 10:    Payne County Disposition Docket
       Exhibit 11:    First Amended Petition
       Exhibit 13:    Email of 8-11-2017
       Exhibit 14:    Letter of 11-15-2017

       Pursuant to LcvR 81.2, a copy of the state court docket sheet is attached as Exhibit 12.

       WHEREFORE, Defendant, USAA Insurance Agency, Inc., prays that this action be removed.

       Dated this 27th day of November, 2017.

                                                          Respectfully submitted,

                                                  ATKINSON, HASKINS, NELLIS,
                                                BRITTINGHAM, GLADD & FIASCO
                                                              A PROFESSIONAL CORPORATION


                                                        /s/ J. Andrew Brown
                                                       J. Andrew Brown, OBA #22504
                                                       1500 ParkCentre
                                                       525 South Main
                                                       Tulsa, OK 74103-4524
                                                       Telephone: (918) 582-8877
                                                       Facsimile: (918) 585-8096
                                                       Attorneys for Defendant USAA Casualty
                                                       Insurance Company

                                   CERTIFICATE OF SERVICE

        I hereby certify that on November 27, 2017, I electronically transmitted the attached document
to the Clerk of the Court using the ECF System for filing and transmittal of a Notice of Electronic
Filing to the following ECF registrants:

       David T. Fletcher
       Timothy S. Harmon, Sr.
       Coffey, Senger & McDaniel, PLLC
       4725 E. 91st St., Suite 100
       Tulsa, OK 74137
       Attorney for Plaintiff




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                 Whitney Eschenheimer
                 Johnson and Jones PC
                 6120 South Yale, Suite 500
                 Tulsa, OK 74136
                 Attorney for Defendant Morris




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